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10                            UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

       UNITED STATES OF AMERICA,          ~   No. CR      2:20CR381 PSG
12

13               Plaintiff,                   PLEA AGREEMENT FOR DEFENDANT
                                              STEVEN F. BROWN
14                    v.

       STEVEN F. BROWN,

15 I
16               Defendant.

17

18          1.   This constitutes the plea agreement between Steven F. Brown

19     ("defendant") and the United States Attorney's Office for the Central

20     District of California (the "USAO") in the investigation of ~1) a

21     fraudulent scheme regarding investments in Alpha Trade Analytics,

E~     Inc., and (2) embezzlement from defendant's non-profit employer.

23     This agreement is limited to the USAO and cannot bind any other

24     federal, state, local, or foreign prosecuting, enforcement,

25     administrative, or regulatory authorities.                                              ',

26                              DEFENDANT'S OBLIGATIONS

27         2.    Defendant agrees to:

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 1                 a.   Give up the right to indictment by a grand jury and,

 2    at the earliest opportunity requested by the USAO and provided by the

 3    Court, appear and plead guilty to a single-count information in the

 4    form attached to this agreement as Exhibit A or a substantially

 5    similar form, which charges defendant with Wire Fraud, in violation

 6    of 18 U.S.C. ~ 1343.

 7                 b.   Not contest facts agreed to in this agreement.

 8                 c.   Abide by all agreements regarding sentencing contained

 9 d in this agreement.

10                 d.   Appear for all court appearances, surrender as ordered

11    for service of sentence, obey all conditions of any bond, and obey

12    any other ongoing court order in this matter.                                     ~'

13                 e.   Agree that all court appearances, including his change

19    of plea hearing and sentencing hearing, may proceed by video-

15    teleconference ("VTC") or telephone, if VTC is not reasonably

16    available, so long as such appearances are authorized by General

17    Order 20-043 or another order, rule, or statute.      Defendant

18    understands that, under the Constitution, the United States Code, the

19    Federal Rules of Criminal Procedure (including Rules 11, 32, and 43),

20    he may have the right to be physically present at these hearings.           'I,

21    Defendant understands that right and, after consulting with counsel,        'I

22    voluntarily agrees to waive it and to proceed remotely.      Defense

23    counsel also joins in this consent, agreement, and waiver.

24    Specifically, this agreement includes, but is not limited to, the

25    following:

26                      i.   Defendant consents under Federal Rules of

27    Criminal Procedure 5{f) and 10(c) and Section 15002(b) of the CARES

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     1     Act to proceed with his initial appearance and arraignment by VTC or

 2         telephone, if VTC is not reasonably available.

 3                         ii.   Defendant consents under Section 15002(b) of the

 9        CARES Act to proceed with his waiver of indictment, under Federal

 5        Rule of Criminal Procedure 7(b), by VTC or telephone, if VTC is not

 6        reasonably available.

 7                        iii. Defendant consents under Section 15002{b} of the

 8        CARES Act to proceed with his change of plea hearing by VTC or

 9        telephone, if VTC is not reasonably available.

10                        iv.    Defendant consents under Section 15002(b) of the

11        CARES Act to proceed with his sentencing hearing by VTC or telephone,

12        if VTC is not reasonably available.

13                        v.     Defendant consents under 18 U.S.C. ~ 3148 and

19        Section 15002(b) of the CARES Act to proceed with any hearing

15        regarding alleged violations of the conditions of pretrial release by

16        VTC or telephone, if VTC is not reasonably available.

17                   f.   Not commit any crime; however, offenses that would be

18        excluded for sentencing purposes under United States Sentencing

19        Guidelines ("U.S.S.G." or "Sentencing Guidelines") ~ 4A1.2(c) are not

20        within the scope of this agreement.

21                  q.    Be truthful at all times with the United States

22        Probation and Pretrial Services Office and the Court.

23                  h.    Pay the applicable special assessment at or before the

29        time of sentencing unless defendant has demonstrated a lack of

25        ability to pay such assessments.

26                  i.    Not seek the discharge of any restitution obligation,

27       in whole or in part, in any present or future bankruptcy proceeding.

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 1                              THE U5A0'S OBLIGATIONS

 2          3.   The USAO agrees to:

 3               a.   Not contest facts agreed to in this agreement.

 9               b.   Abide by all agreements regarding sentencing contained

 5 d in this agreement.

 6               c.   At the time of sentencing, provided that defendant

 7    demonstrates an acceptance of responsibility for the offense up to

 8    and including the time of sentencing, recommend a two-level reduction

 9    in the applicable Sentencing Guidelines offense level, pursuant to

10    O,S.S.G. § 3E1.1, and recommend and, if necessary, move for an

11    additional one-level reduction if available under that section.

12               d.   Recommend that defendant be sentenced to a term of

13    imprisonment no higher than the low end of the applicable Sentencing

14    Guidelines range, provided that the offense level used by the Court

15    to determine that range is 24 or higher.     For purposes of this

16    agreement, the low end of the Sentencing Guidelines range is that

17    defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A.

18               e.   Should the Court sentence defendant to a term of

19    imprisonment, recommend that defendant not be required to self-

20    surrender to serve his sentence until on or after February 1, 2021,

21    unless defendant violates the conditions of his bond.

22                              NATQRE OF THE OFFENSE

23         4.    Defendant understands that for defendant to be guilty of

24    the crime charged in the single-count information, that is, wire

25   fraud, in violation of Title 18, United States Code, Section 1343,

26    the following must be true: (1) defendant knowingly devised or

27    participated in a scheme or plan to defraud, or a scheme or plan for

28   obtaining money or property by means of false or fraudulent

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 1    pretenses, representations, or promises; (2) the statements made or

 2    facts omitted as a part of the scheme were material; that is, they

 3    had a natural tendency to influence, or were capable of influencing,

 4    a person to part with money or property; (3) defendant acted with the

 5    intent to defraud, that is, the intent to deceive or cheat; and (4)

 6    defendant used, or caused to be used, an interstate wire

 7    communication to carry out or attempt to carry out an essential part

 8 l of the scheme.

 9                            PENALTIES AND RESTITUTION

10         5.    Defendant understands that the statutory maximum sentence

11    that the Court can impose for a violation of Title 18, United States

12    Code, Section 1343, is: 20 years' imprisonment; a 3-year period of

13    supervised release; a fine of $250,000 or twice the gross gain or

14    gross loss resulting from the offense, whichever is greatest; and a

15    mandatory special assessment of $100.

16         6.    Defendant understands that defendant will be required to

17    pay full restitution to the victims of the offense to which defendant

18    is pleading guilty.   Defendant agrees that, in return for the USAO's

19    compliance with its obligations under this agreement, the Court may

20   order restitution to persons other than the victims of the offense to

21    which defendant is pleading guilty and in amounts greater than those

22   alleged in the count to which defendant is pleading guilty.       In

23   particular, defendant agrees that the Gourt may order restitution to

24   any victim of any relevant conduct, as defined in U.S.S.G. ~ 1B1.3,

25   in connection with the offense to which defendant is pleading guilty

26   for any losses suffered by that victim as a result.      The parties

27   currently believe that the applicable amount of restitution is

     approximately $3,313,346, but recognize and agree that this amount

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  1    could change based on facts that come to the attention of the parties

  2    prior to sentencing.

  3         7.    Defendant agrees that any and all fines and/or restitution

  4    ordered by the Court will be due immediately.     The government is not

  5    precluded from pursuing, in excess of any payment schedule set by the

  6    Court, any and all available remedies by which to satisfy defendant's

  7    payment of the full financial obligation, including referral to the

 8     Treasury Offset Program.

  9         8.    Defendant understands that supervised release is a period

10     of time following imprisonment during which defendant will be subject

11     to various restrictions and requirements.     Defendant understands that

12 ' if defendant violates one or more of the conditions of any supervised

13     release imposed, defendant may be returned to prison for all or part

14     of the term of supervised release authorized by statute for the

15     offense that resulted in the term of supervised release, which could

16     result in defendant serving a total term of imprisonment greater than

17    the statutory maximum stated above.

18          9.   Defendant understands that, by pleading guilty, defendant

19    may be giving up valuable government benefits and valuable civic

~Z~~ rights, such as the right to vote, the right to possess a firearm,

21    the right to hold office, and the right to serve on a jury. Defendant

22    understands that he is pleading guilty to a felony and that it is a

23    federal crime for a convicted felon to possess a firearm ox

24    ammunition.   Defendant understands that the conviction in this case

25    may also subject defendant to various other collateral consequences,

f3:   including but not limited to rei~ocation of probation, parole, or

27    supervised release in another case and suspension or revocation of a

2$    professional license.    Defendant understands that unanticipated

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 1    collateral consequences will not serve as grounds to withdraw

 2    defendant's guilty plea.

 3         10.    Defendant and his counsel have discussed the fact that, and

 4    defendant understands that, if defendant is not a United States

 5    citizen, the conviction in this case makes it practically inevitable

 6    and a virtual certainty that defendant will be removed or deported

 7    from the United States.    Defendant may also be denied United States
 8    citizenship and admission to the United States in the future.

 9    Defendant understands that while there may be arguments that

10    defendant can raise in immigration proceedings to avoid or delay

11    removal, removal is presumptively mandatory and a virtual certainty

12    in this case.    Defendant further understands that removal and

13   immigration consequences are the subject of a separate proceeding and

14    that no one, including his/her attorney or the Court, can predict to

15    an absolute certainty the effect of his conviction on his immigration

16   status.     Defendant nevertheless affirms that he wants to plead guilty ',

17   regardless of any immigration consequences that his plea may entail,         ',

18   even if the consequence is automatic removal from the United States.         'I~

19                                  FACTUAL BASIS

20         11.   Defendant admits that defendant is, in fact, guilty of the

21   offense to which defendant is agreeing to plead guilty.       Defendant

22   and the USAO agree to the statement of facts provided below and agree

23   that this statement of facts is sufficient to support a plea of

24   guilty to the charge described in this agreement and to establish the

25   Sentencing Guidelines factors set forth in paragraph 13 below but is

26   not meant to be a complete recitation of all facts relevant to the

27   underlying criminal conduct or all facts known to either party that

2S   relate to that conduct.
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 1          Defendant controlled and operated Alpha Trade Analytics, Inc.

 2    {"Alpha Trade"), a financial consulting and investment company,

 3    largely out of his residence in Marina Del Rey, California, within

 4    the Central District of California.     Neither defendant nor Alpha

 5    Trade was a registered broker or dealer in securities.      Defendant

 6    also served as the accountant for a non-profit organization providing

 7    dance and theater arts education to children and young adults in Los

 8    Angeles ithe "Dance Academy") and had access to its bank accounts.

 9    In that capacity, defendant held a position of trust with the Dance

10    Academy.

11         Beginning in or around April 2014, and continuing until at least

12    in or around May 2018, in Los Angeles County, within the Central

13    District of California, and elsewhere, defendant knowingly and with

14    intent to defraud, devised, participated in, and executed a scheme to

15    defraud investors as to material matters, and to obtain moneys,

16   funds, assets, and other property owned by and in the custody and

17   control of such investors by means of material false and fraudulent

18   pretenses, representations, and promises, and the concealment of

19   material facts.

20         Defendant solicited investments in Alpha Trade, including from

21   individuals he encountered through his position at the Dance Academy

22   and through his relationship with its executives and employees, which

23   afforded him access to and the trust of social networks of supportive

24   entrepreneurs and high-net-worth individuals.      To encourage those

25   individuals to invest with Alpha Trade, defendant falsely promised

26   that the individuals' investments would only be used for Forex

27   trading and falsely represented that he had extensive experience in

28   Forex investing and was regularly able to make profitable trades and

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 1 ~~achieve substantial and growing rates of return that exceeded the

 2 ~~industry average.

 3          Defendant also made false and fraudulent representations about

 4    the terms of those investments, including claims that: (1) the

 5    "capital" provided by the investors would belong to those investors

 6    at all times; (2) investors would receive a guaranteed recurring

 7    payout generally based on a percentage (often 1~~ monthly) of the

 8    total amount of their investment; (3) all investment losses would be

 9    borne by Alpha Trade; (4) investments were vetted, insured, and/or

10    bonded; and (5) Alpha Trade would keep up-to-date books of accounts

11    and provide investors with access to those books.

12         Investors relied an these false and fraudulent claims, which

13    were material to their investment decisions, and sent money, often by

14   ! wire or check, to Alpha Trade at defendant's direction.     Defendant

15 ( deposited these funds into Alpha Trade bank accounts.

16         Defendant opened several Forex trading accounts in Alpha Trade's

17    name, often falsely claiming to those trading companies that Alpha

18    Trade did not solicit investments and would not be using any third-

19    party investments in its trading.      Although defendant initially used

20    some funds from Alpha Trade's bank accounts to engage in Forex

21    trading through these trading accounts, he did so knowing that,

22    contrary to his representations to investors, (1) he had little

23    experience in live Forex trading, (2) he had not allocated the funds

24   in either the Alpha Trade bank or trading accounts to any particular

25   investor or maintained any comprehensive accounting of those

26   investments and thus had no way of tracking individual investments or

27   their profits or losses, and t3) his Forex trades were often not

28   profitable or not profitable enough to support the high guaranteed

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 1     recurring payouts he had promised.     Even after seeing that his Forex

 2    trading performance was poor almost from the outset, defendant

 3 ( continued to solicit new investors for years based on false claims of

 4    his Forex trading prowess and fraudulent promises of high guaranteed

 5 ( returns.

 6          Contrary to defendant's representations to investors, defendant

 7    only used a small portion of the total amount invested in Alpha Trade

 8    for Forex trading, mostly in 2015, and routinely used investor funds

 9    for other purposes, including to pay other investors and to pay his

10    own personal expenses, including rent, car payments, and restaurant

11    and retail expenses.

12          In order to induce investors to maintain or supplement their

13 ~ investments with Alpha Trade and to conceal his scheme•, defendant (1) '~,

14 , periodically provided investors with account statements that

15    reflected fabricated investment returns (often showing steady,

16    significant gains), and (2) made some of the promised recurring

17    payouts and provided demanded refunds, not based on any Forex

18    investment returns, but instead using funds from new investors and

19    funds defendant embezzled from the Dance Academy through unauthorized

20    wire transfers, credit card advances, and cash withdrawals he was

21    able to make and conceal by virtue of his position as the Dance

22    Academy's accountant.    Fox many of the investors, however, defendant

23    failed to make the promised recurring payments or return the

24    investments upon demand as promised.

25         In executing the above scheme, defendant used and caused the use

26    of wire transmissions in interstate commerce.      Specifically, on or

27    about August 3, 2017, defendant transmitted and caused to be

28    transmitted in interstate commerce a wire transfer of approximately

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       $300,000 from the Dance Academy's Wells Fargo bank account ending in

       x7333 to Alpha Trade's Citibank bank account ending in x9586.

            During the course of the scheme, defendant, through Alpha Trade,

      caused losses of approximately $3,313,346 to more than 10 victims,

      including nearly $700,000 in losses to the Dance Academy based on

     , funds defendant embezzled from the Dance Academy to perpetuate his

     l
     I scheme.

                                  SENTENCING FACTORS

            12.   Defendant understands that in determining defendant's

10    sentence the Court is required to calculate the applicable Sentencing

11    Guidelines range and to consider that range, possible departures

12    under the Sentencing Guidelines, and the other sentencing factors set

13    forth in 18 U.S.C. § 3553(a).     Defendant understands that the

14    Sentencing Guidelines are advisory only, that defendant cannot have

15    any expectation of receiving a sentence within the calculated

16    Sentencing Guidelines range, and that after considering the

17    Sentencing Guidelines and the other § 3553(a) factors, the Court will

18    be free to exercise its discretion to impose any sentence it finds

19    appropriate up to the maximum set by statute for the crime of

20    conviction.

21         13.    Defendant and the USAO agree to the following applicable

22    Sentencing Guidelines factors:

23       Base Offense Level:                   7       U.S.S.G. ~ 2B1.1(a)(1)

24       Loss Between $1.5 million
         And $3.5 million                     +16   U.S.S.G. ~ 2Bl.ltb)(1)(Z)
25
         More than 10 victims:                +2                    U.S.S.G.
26                                                       § 2B1.1(b)(2)(A)(i)

27
         Abuse of a Position of Trust         +2             U.S.S.G. § 3B1.3
28       Or Use of a Special Skill:

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       1

       2
            Defendant and the USAO reserve the right to argue that additional
       3
            specific offense characteristics, adjustments, and departures under
       9
           the Sentencing Guidelines are appropriate,
       5
                 14.   Defendant understands that there is no agreement as to
       6
           defendant's criminal history or criminal history category.
   7
                15.    Defendant and the USAO reserve the right to argue for a
   8
           sentence outside the sentencing range established by the Sentencing
   9
           Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1~,
 10
           (a)(2). (a)(3), (a)(6), and (a? t7)
 11
                                WAIVER OF CONSTITUTIONAL RIGHTS
 12
                16.    Defendant understands that by pleading guilty, defendant
 13
           gives up the following rights:
 14
                       a.   The right to persist in a plea of not guilty.
 15
                       b.   The right to a speedy and public trial by jury.
 16
                       c.   The right to be represented by counsel -- and if
 17
           necessary have the Court appoint counsel -- at trial.    Defendant
 18
           understands, however, that, defendant retains the right to be
19
           represented by counsel -- and if necessary have the Court appoint
20
           counsel -- at every other stage of the proceeding.
21
                       d.   The right to be presumed innocent and to have the
22
           burden of proof placed on the government to prove defendant guilty
23
           beyond a reasonable doubt.
24
                       e.   The right to confront and cross-examine witnesses
25
           against defendant.
26

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   1                f.     The right to testify and to present evidence in

  2     opposition to the charges, including the right to compel the

   3    attendance of witnesses to testify.

   4                g.     The right not to be compelled to testify, and, if

  5 , defendant chose not to testify or present evidence, to have that

  6     choice not be used against defendant.

  7                 h.     Any and all rights to pursue any affirmative defenses,

  8     Fourth Amendment or Fifth Amendment claims, and other pretrial

  9     motions that have been filed or could be filed.

10                             WAIVER OF APPEAL OF CONVICTION

11            17.   Defendant understands that, with the exception of an appeal

12      based on a claim that defendant's guilty plea was involuntary, by

13      pleading guilty defendant is waiving and giving up any right to

14      appeal defendant's conviction on the offense to which defendant is

15      pleading guilty.     Defendant understands that this waiver includes,

16      but is not limited to, arguments that the statute to which defendant

17      is pleading guilty is unconstitutional, and any and all claims that

18     I the statement of facts provided herein is insufficient to support

19      defendant's plea of guilty.

20                       LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

21           18.    Defendant agrees that, provided the Court imposes a term of

22      imprisonment within or below the range corresponding to an offense

23      level of 29 and the criminal history category calculated by the

24      Court, defendant gives up the right to appeal all of the following:

25      (a) the procedures and calculations used to determine and impose any

26      portion of the sentence; (b) the term of imprisonment imposed by the

27      Court; (c) the fine imposed by the Court, provided it is within the

F.~3    statutory maximum; (d) to the extent permitted by law, the

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  1     constitutionality or legality of defendant's sentence, provided it is

  2     within the statutory maximum; (e) the amount and terms of any

  3     restitution order, provided it requires payment of no more than

  4    $3,313,346,35; (f) the term of probation or supervised release

  5    imposed by the Court, provided it is within the statutory maximum;

  6    and (g) any of the following conditions of probation or supervised

  7    release imposed by the Court: the conditions set forth in General

  8    Order 20-D4 of this Court; the drug testing conditions mandated by 18

  9    U.S.C. ~§ 3563~a)(5) and 35$3(d); and"the alcohol and drug use

10     conditions authorized by 18 U.S.C. § 3563(b)(7).

11           19.   The USAO agrees that, provided (a) all portions of the

12 ', sentence are at or below the statutory maximum specified above and

13     (b} the Court imposes a term of imprisonment within or above the             '~

14     range corresponding to an offense level of 29 and the criminal

15     history category calculated by the Court, the USAO gives up its right

16     to appeal any portion of the sentence, with the exception that the

17     USAO reserves the right to appeal the amount of restitution ordered

18    l if that amount is less than $3,313,346.35.

19                        RESULT OF WITHDRAWAL OF GUILTY PLEA

20          20.    Defendant agrees that if, after entering a guilty plea

21     pursuant to this agreement, defendant seeks to withdraw and succeeds

22     in withdrawing defendant's guilty plea on any basis other than a

23     claim and finding that entry into this plea agreement was

24     involuntary, then the USAO will be relieved of all of its obligations

25     under this agreement.

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 1                            EFFECTIVE DATE OF AGREEMENT

 2          21.   This agreement is effective upon signature and execution of

 3     all required certifications by defendant, defendant's counsel, and an

 9     Assistant United States Attorney.

 5                                BREACH OF AGREEMEAIT

 6          22.   Defendant agrees that if defendant, at any time after the

 7    signature of this agreement and execution of all required

 8    certifications by defendant, defendant's counsel, and an Assistant

 9    United States Attorney, knowingly violates or fails to perform any of

10    defendant's obligations under this agreement ("a breach"), the USAO

11    may declare this agreement breached.     All of defendant's obligations

12    are material, a single breach of this agreement is sufficient for the

13    USAO to declare a breach, and defendant shall not be deemed to have

14    cured a breach without the express agreement of the USAO in writing.

15    If the USAO declares this agreement breached, and the Court finds

16    such a breach to have occurred, then: (a) if defendant has previously j

17    entered a guilty plea pursuant to this agreement, defendant will not

18    be able to withdraw the guilty plea, and (b) the USAO will be

19    relieved of all its obligations under this agreement.

20            COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

21                                OFFICE NOT PARTIES

22         23.    Defendant understands that the Court and the United States

23    Probation and Pretrial Services Office are not parties to this

24    agreement and need not accept any of the USAO's sentencing

25    recommendations or the parties' agreements to facts or sentencing

26    factors.

27         24.    Defendant understands that both defendant and the USAO are

28    free to: (a) supplement the facts by supplying relevant information

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       1    to the United States Probation and Fretrial Services Office and the

       2    Court, (b) correct any and all factual misstatements relating to the

       3    Court's Sentencing Guidelines calculations and determination of

   9        sentence, and (c? argue on appeal and collateral review that the

   5        Court's Sentencing Guidelines calculations and the sentence it

   6       chooses to impose are not error, although each party agrees to

   7 , maintain its view that the calculations in paragraph 13 are

   8       consistent with the facts of this case.    While this paragraph permits

   9       bath the USAO and defendant to submit full and complete factual

 10        information to the United States Probation and Pretrial Services

 11        Otfice and the Court, even if that factual information may be viewed

 12        as inconsistent with the facts agreed to in this agreement, this

 13        paragraph does not affect defendant's and the USAO's obligations not

 14        to contest the facts agreed to in this agreement.

 15             25.   Defendant understands that even if the Court ignores any

16         sentencing recommendation, finds facts or reaches conclusions

17         different from those agreed to, and/or imposes any sentence up to the

18         maximum established by statute, defendant cannot, for that reason,

19         withdraw defendant's guilty plea, and defendant will remain bound to

20         fulfill all defendant's obligations under this agreement.   Defendant
21         understands that no one -- not the prosecutor, defendant's attorney,

22         or the Court -- can make a binding prediction or promise regarding

23         the sentence defendant will receive, except that it will be within

24         the statutory maximum.

25                                  NO ADDITIONAL AGREEMENTS

26              26.   Defendant understands that, except as set forth herein,

27         there are no promises, understandings, or agreements between the USAO

F.Il       and defendant or defendant's attorney, and that no additional

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                                                                unless in a
1      promise, understanding, or agreement may be entered into
                                                               .
2      writing signed by all parties or on the record in court

3 1~                   PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
                                                                           ered
9            27.      The parties agree that this agreement will be consid
                                                             as if the
5      part of the record of defendant's guilty plea hearing
                                                         the proceeding.
6      entire agreement had been read into the record of

7      AGREED AND ACCEPTED

8        UNITED STATES ATTORNEY'S OFFICE
       ' FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
       NICOLA T. HANNA
10     United States Attorney

11         ~ t~~--~
           '                                               8/20/20
         J
12     KRIS~EN A. WILLIAMS                                Date
       Ass tant Uni ed States Attorney
13

14        yiEN F.                                         Date
          endant
15

16     MATTHEW LOMBA~RD                                   Date
       Attorney for Def              EVEN F. BROWN
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     1                            CERTIFICATION OF DEFENDANT

     2          I have read this agreement in its entirety.      I have had enough

     3     time to review and consider this agreement, and I have carefully and

     9     thoroughly discussed every part of it with my attorney.      I understand

     5     the terms of this agreement, and I voluntarily agree to those terms.

     6 i I have discussed the evidence with my attorney, and my attorney has

     7     advised me of my rights, of possible pretrial motions that might be

 8        filed, of possible defenses that might be asserted either prior to or

 9         at trial, of the sentencing factors set forth in 18 U.S.C. ~ 3553(a),

10        of relevant Sentencing Guidelines provisions, and of the consequences

11        of entering into this agreement.       No promises, inducements, or

12        representations of any kind have been made to me other than those

13        contained in this agreement.     No one has threatened or forced me in

14        any way to enter into this agreement.      I am satisfied with the

15        representation of my attorney in this matter, and I am pleading

16        guilty because I am guilty of the charge and wish to take advantage

17        of the promises set forth in this agreement, and not for any other

18        reason.

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                                                           '~~ 1.~'/
20\              F. BROWN                              Date
                ant
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     1                        CERTIFICATION OF DEFENDANT'S ATTORNEY

 2               I am Steven Brown's attorney.    I have carefully and thoroughly

 3         discussed every part of this agreement with my client.      Further, I

 4         have fully advised my client of his rights, of possible pretrial

 S         motions that might be filed, of possible defenses that might be

 6         asserted either prior to or at trial, of the sentencing factors set

 7        forth in 18 U.S.C. ~ 3553(a), of relevant Sentencing Guidelines

 8         provisions, and of the consequences of entering into this agreement.

 9        To my knowledge: no promises, inducements, or representations of any

10        kind have been made to my client other than those contained in this

11        agreement; no one has threatened or forced my client in any way to

12        enter into this agreement; my client's decision to enter into this

13        agreement is      n informed and voluntary one; and the factual basis set

14        forth i     thi   agreement is sufficient to support my client's entry of

15        l a guilt   1 a   ursuant to this agreement.

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17        MATTHEW LOMB                                     Date
          Attorney for            t STEVEN F. BROWN
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 8                               UNITED STATES DISTRICT COURT

 9                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

10        UNITED STATES OF AMERICA,             CR No.

11                  Plaintiff,                  I N FORMAT I O N

12                  v.                          [18 U.S.C. § 1343: Wire Fraudj

13        STEVEN F. BROWN,

14
                    Defendant.
15

16             The United States Attorney charges:

17                                    [18 U.S.C. § 1343]

18        A.   INTRODUCTORY ALLEGATIONS

19             At times relevant to this Information:

20             1.    Defendant STEVEN F. BROWN was a resident of Marina Del Rey,

21        California, within the Central District of California.

22             2.   In February 2014, defendant BROWN incorporated Alpha Trade         ~
23        Analytics, Inc. ("Alpha Trade"), a company he controlled and operated

24        largely out of his Marina Del Rey residence.     Defendant BROWN

25        variously described Alpha Trade as providing financial analysis and

26        investment strategies and as operating an investment fund.      Neither

27        defendant BROWN nor Alpha Trade was registered with the Securities

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   1     and Exchange Commission as a broker or dealer in accordance with

   2     Section 15(b) of the Exchange Act, 15 U.S.C. ~ 78o(b).

   3          3.     Defendant BROWN was also employed by a non-profit

   4    organization providing dance and theater arts education to children

   5    and young adults in Los Angeles (the "Dance Academy"), and acted as

  6 ' the Dance Academy's accountant until his termination in or around

  7     June 2018.      Defendant BROWN was a signer on the Dance Academy's bank

  8     accounts, including a Wells Fargo account ending in x7333.

  9 ~ B.      THE SCHEME TO DEFRAUD

10            4.   Beginning in or around April 2014, and continuing until at

11      least in or around May 2018, in Los Angeles County, within the

12      Central District of California, and elsewhere, defendant BROWN,

13      together with others known and unknown to the United States Attorney,

14      knowingly and with intent to defraud, devised, participated in, and

15 ' executed a scheme to defraud investors as to material matters, and to

16      obtain moneys, funds, assets, and other property owned by and in the

17      custody and control of such investors by means of material false and

18      fraudulent pretenses, representations, and promises, and the

19      concealment of material facts.

P~~~         5.    The fraudulent scheme operated and was carried out, in

21      substance, as follows:

22                 a.     Defendant BRAWN solicited investments in Alpha Trade,

23      including from individuals he encountered through his position at the

24      Dance Academy and his relationship with its executives and employees,

25      which afforded him access to and the trust of social networks of

26      supportive entrepreneurs and high-net-worth individuals.

27                 b.     To encourage those individuals to invest with Alpha

28      Trade, defendant BROWN falsely promised that the individuals'                ~,

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     1    investments would only be used for Forex trading and falsely

     2    represented that he had extensive experience in Forex investing and

 3        was regularly able to make profitable trades and achieve substantial

 4        and growing rates of return that exceeded the industry average.

 5                    c.   Defendant BROWN also made false and fraudulent

 6        representations about the terms of those investments, including

 7 Ilclaims that:

 8                         i.    the "capital" provided by the investors would

 9       belong to those investors at all times;

10                         ii.   investors would receive a guaranteed recurring

11       payout generally based on a significant percentage (often 10$

12       monthly) of the total amount of their investment;

13                         iii. all investment losses would be borne by Alpha

14       Trade;

15                         iv.   investments were vetted, insured, and/or bonded;

16       and

17                         v.    Alpha Trade would keep up-to-date books of

18       accounts and provide investors with access to those books.

19                    d.   Investors, relying on these false and fraudulent

20       claims, which were material to their investment decisions, would send

21       money, often by wire or check, to Alpha Trade at defendant BROWN's

22       direction.    Defendant BROWN deposited and caused these funds to be

23       deposited into Alpha Trade bank accounts.

29                 e.      Defendant BROWN opened several Forex trading accounts

25       in Alpha Trade's name, often falsely claiming to those trading

26       companies that Alpha Trade did not solicit investments and would not

27       be using any third-party investments in its trading.     Although

28       defendant BROWN initially used some funds from Alpha Trade's bank

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     1     accounts to engage in Eorex trading through these trading accounts,

 2         he did so knowing that, contrary to his representations to investors,

 3         (1) he had little experience in live Forex trading, (2) he had not

 4         allocated the funds in either the Alpha Trade bank or trading

 5         accounts to any particular investor or maintained any comprehensive

 6         accounting of those investments and thus had no way of tracking

 7        individual investments or their profits or losses, and (3) his Forex

 8        trades were often not profitable or not profitable enough to support

 9        the high guaranteed recurring payouts he had promised.      Even after

10        seeing that his Forex trading performance was poor almost from the

11        outset, defendant BRAWN continued to solicit new investors for years

12        based on false claims of his Forex trading prowess and fraudulent

13        promises of high guaranteed returns.

14                   f.   Moreover, contrary to defendant BROWN's

15        representations to investors, he only used.a small portion of the

16        total amount invested in Alpha Trade for Forex trading, mostly in

17        2015, and routinely used investor funds for other purposes, including

18        to pay other investors and to pay his own personal expenses,

19        including rent, car payments, and restaurant and retail expenses.

20                   g.   In order to induce investors to maintain or increase

21        their investments with Alpha Trade and to conceal his scheme,

22        defendant BROWN (1) periodically provided investors with account

23        statements that reflected fabricated investment returns (often

24        showing steady significant gains), and (2) made some of the promised

25        recurring payouts and provided demanded refunds, not based on any

26        Forex investment returns, but instead using funds from new investors

27        and funds defendant BROWN embezzled from the Dance Academy through

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     1     unauthorized wire transfers, credit card advances, and cash

     2     withdrawals.

     Kl              h.    For many of the investors, defendant BROWN failed to

     4     make the promised recurring payments or return the investments upon

 5         demand as promised.

 6              6.   During the course of the scheme, defendant BROWN, through

 7        Alpha Trade, caused losses of approximately $3,313,346 to more than

 8        10 victims, including nearly $700,000 in losses to the Dance Academy

 9        based on funds defendant BROWN embezzled from the Dance Academy to

10 ' perpetuate his scheme.

11        C.    USE OF THE WIRES

12              7.   On or about August 3, 2017, in Los Angeles County, within

13        the Central District of California, and elsewhere, for the purpose of

14        executing the above-described scheme to defraud, defendant BROWN

15        transmitted and caused the transmission of approximately 5300,000

16        through the interstate Fedwire system from the Dance Academy's Wells

17        Fargo bank account ending in x7333 to Alpha Trade's Citibank bank

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      Case 2:20-cr-00381-PSG Document 7 Filed 08/28/20 Page 26 of 27 Page ID #:43




     1     account ending in x9586 by means of wire and radio communication in

     2     interstate and foreign commerce.

     3                                            NICOLA T. HANNA
                                                  United States Attorney
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     6                                        BRANDON D. FOX
                                              Assistant United States Attorney
     7                                        Chief, Criminal Division
     8 '                                      RANEE A. KATZENSTEIN
                                              Assistant United States Attorney
     9                                        Chief, Major Frauds Section
 10                                           KRISTEN A. WILLIAMS
                                              Assistant United States Attorney
 11                                           Deputy Chief, Major Frauds Section
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 1                             CERTIFICATE OF SERVICE

 2
           I, Brenda Gervais, declare:
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 4         That I am a citizen of the United States and a resident of or

 5   employed in Los Angeles County, California; that my business address

 6 ~ is the Office of United States Attorney, 312 North Spring Street,

 7
     Los Angeles, California 90012; that I am over the age of 18; and
 8
     that I am not a party to the above-titled action;
 9
      That I am employed by the United States Attorney for the Central
10    District of California, who is a member of the Bar of the United
      States District Court for the Central District of California, at
11    whose direction I served a copy of:
      PLEA AGREEMENT
12
       ❑ Placed in a closed envelope         ❑ Placed in a sealed envelope
13
         for collection and inter-             for collection and mailing
         office delivery, addressed as         via United States mail,
14
         follows:                              addressed as follows:
15

16
       ❑ By hand delivery, addressed as      ❑ By facsimile, as follows:
         follows:
17

18
      ~ Via email, as follows:               ❑ By Federal Express, as
                                               follows:
      mlombard@lombardlaw.net
19

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     This Certificate is executed on August 28, 2020, at Los Angeles,
21
     California.   I certify under penalty of perjury that the foregoing
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     is true and correct.                       '
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                                            Bitie~a~a (', ~e~uais
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                                            Brenda C. Gervais
26                                          Legal Assistant

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